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 7
                          UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9
     ALEXANDER STROSS, an individual,              Case No.:
10
11   Plaintiff,                                    COMPLAINT FOR
                                                   CONTRIBUTORY COPYRIGHT
12   v.                                            INFRINGEMENT
13
     GOOGLE LLC, a Delaware Limited                Jury Trial Demanded
14   Liability Company d/b/a “YouTube”; and
15   DOES 1 through 10,

16   Defendants.
17
18          ALEXANDER STROSS (“STROSS” or “Plaintiff”), through counsel,
19   hereby prays to this honorable Court for relief based on Defendant GOOGLE
20   LLC’s (“YOUTUBE”) acts of contributory copyright infringement and the
21   proliferation of copyright-infringing content that YOUTUBE has knowingly
22   allowed, contributed to, and financially benefitted from:
23                             JURISDICTION AND VENUE
24          1.     This action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et
25   seq.
26          2.     This Court has federal question jurisdiction under 28 U.S.C. §§ 1331
27   and 1338 (a)-(b).
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 1         3.     Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
 2   1400(a) because this is the judicial district in which a substantial part of the acts and
 3   omissions giving rise to the claims occurred.
 4                                         PARTIES
 5         4.     STROSS is a professional photographer residing in Austin, Texas.
 6         5.     YOUTUBE is a Delaware limited liability company with a principal
 7   place of business at located at 1600 Amphitheatre Parkway, Mountain View, CA
 8   94043. YOUTUBE is the owner, operator, and/or controller of the website
 9   youtube.com and its related and affiliated subdomains (collectively,
10   “YOUTUBE’S Platform”). YOUTUBE maintains one or more offices in Los
11   Angeles, California and/or this judicial district.
12         6.     Upon information and belief, Plaintiff alleges that Defendants DOES
13   1 through 10 (“DOE Defendants”) (collectively with YOUTUBE, “Defendants”)
14   are other parties not yet identified who have infringed Plaintiff’s copyrights, have
15   contributed to the infringement of Plaintiff’s copyrights, or have engaged in one or
16   more of the wrongful practices alleged herein. The true names, whether corporate,
17   individual, or otherwise, of DOE Defendants are presently unknown to Plaintiff,
18   which therefore sues said DOE Defendants by such fictitious names, and will seek
19   leave to amend this Complaint to show their true names and capacities when the
20   same have been ascertained.
21         7.     Upon information and belief, Plaintiff alleges that, at all relevant
22   times, each of the Defendants was the agent, affiliate, officer, director, manager,
23   principal, alter-ego, and/or employee of the remaining Defendants, and was at all
24   times acting within the scope of such agency, affiliation, alter-ego relationship,
25   and/or employment; and actively participated in, subsequently ratified, and/or
26   adopted each of the acts or conduct alleged, with full knowledge of all the facts
27   and circumstances of each violation of Plaintiff’s rights and the damages to
28   Plaintiff proximately caused thereby.

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 1    YOUTUBE’S PLATFORM AND NOMINAL PROCESS FOR REMOVING
 2                       COPYRIGHT-INFRINGING CONTENT
 3         8.     YOUTUBE’S Platform is a hugely successful online multimedia
 4   (including videos, audio, graphics, and photos) sharing and social media website. It
 5   is the second most visited website after google.com, generates billions of dollars in
 6   revenue annually, and has had an unprecedent social impact by influencing popular
 7   culture and Internet trends, among other things. However, YOUTUBE and
 8   YOUTUBE’S Platform have been widely criticized for spreading misinformation,
 9   violating users’ privacy, enabling censorship, endangering child safety and
10   wellbeing, and rampant copyright infringement. This case concerns a small part of
11   the widespread infringement of copyrights on YOUTUBE’S Platform, namely, the
12   infringement of STROSS’ copyrights in the Subject Works (defined below).
13         9.     Users of YOUTUBE’S Platform who upload content agree to
14   YOUTUBE’S PLATFORM’s Terms of Service, including “agree[ing] not to
15   upload anything that infringes on anyone else’s rights.” YOUTUBE maintains the
16   right and ability to remove IP-infringing content.
17         10.    If a copyright holder believes that content on YOUTUBE’S Platform
18   infringes their copyright(s) in their protected work(s), the copyright holder can,
19   inter alia, contact YOUTUBE via email at copyright@youtube.com. If a copyright
20   holder does so to submit a claim of copyright infringement, YOUTUBE asks for
21   (1) contact information (of the copyright holder or authorized representative); (2) a
22   description of the copyrighted work(s) allegedly infringed; (3) web addresses
23   (“URLs”) of the allegedly infringing content; (4) a declaration; and (5) a signature
24   (collectively, a “Takedown Notice”). These elements are essentially the elements
25   of an effective Takedown Notice under the Digital Millennium Copyright Act
26   (“DMCA”), 17 U.S.C. § 512.
27         11.    If a copyright owner submits a valid Takedown Notice, YOUTUBE
28   represents that it will take down the complained-of content and apply a “copyright

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 1   strike” to the account of the user who uploaded that content to YOUTUBE’S
 2   Platform. If a user gets three copyright strikes in 90 days, their account, along with
 3   any associated channels, will be terminated.
 4          12.    YOUTUBE also reserves the right to suspend or terminate a user’s
 5   access to all or part of YOUTUBE’S Platform if (a) the user materially or
 6   repeatedly breaches YOUTUBE’S Platform’s Terms of Service; (b) YOUTUBE is
 7   required to do so to comply with a legal requirement or a court order; or (c)
 8   YOUTUBE believes there has been conduct that creates (or could create) liability
 9   or harm to any user, third party, itself, or its affiliates.
10      YOUTUBE TURNS A BLIND EYE TO UNAUTHORIZED CONTENT
11       INFRINGING STROSS’ COPYRIGHTS IN THE SUBJECT WORKS
12          13.    STROSS is a professional photographer who owns, among other
13   things, 214 original photographs and videos registered with the U.S. Copyright
14   Office under U.S. Copyright Reg. Nos. PAu003754664, PAu003761469,
15   PAu003963070, VAu000989644, VAu001088759, VAu001089810,
16   VAu001103498, VAu001129745, VAu001141050, VAu001198970,
17   VAu001199288, VAu001201815, VAu001216750, VAu001217637, and
18   VAu001219537 (collectively, the “Subject Works”).
19          14.    Upon information and belief, Plaintiff alleges that following the
20   publication and display of the Subject Works, users on YOUTUBE’S Platform
21   uploaded, downloaded, stored, copied, reproduced, published, displayed, created
22   derivative works of, distributed, transmitted, modified, manipulated, and/or
23   otherwise used the Subject Works on YOUTUBE’S Platform and servers without
24   license, authorization, or consent from STROSS (collectively, the “Infringing
25   Uses”). True and correct screen captures of representative examples of the
26   Infringing Uses are set forth in Exhibit 1.
27          15.    On March 20, 2021, STROSS sent a Takedown Notice to YOUTUBE
28   via email at copyright@youtube.com regarding the unauthorized use of certain of

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 1   the Subject Works on YOUTUBE’S Platform. The Notice contained the
 2   information required for an effective Takedown Notice under the DMCA and
 3   YOUTUBE’S Platform’s Terms. YOUTUBE did not respond.
 4           16.   To date, YOUTUBE has not removed the complained-of Infringing
 5   Uses.
 6           17.   On March 25, 2021, STROSS sent another Takedown Notice to
 7   YOUTUBE regarding the unauthorized use of the Subject Works on YOUTUBE’S
 8   Platform. The Notice again contained all information required for an effective
 9   Takedown Notice under the DMCA and YOUTUBE’S Platform’s Terms. On April
10   24, 2021, without having removed or disabled access to a single Infringing Use,
11   YOUTUBE provided the following response to STROSS:
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18           18.   To date, YOUTUBE has not removed the complained-of Infringing
19   Uses.
20           19.   On October 26, 2021, STROSS’ counsel sent a third Takedown
21   Notice to YOUTUBE. Like the previous two Notices, the third Notice contained
22   all information required for an effective Takedown Notice under the DMCA and
23   YOUTUBE’S Platform’s Terms, including (1) a table of each Subject Work
24   matched to screen captures of the corresponding Infringing Use(s) and their
25   respective URLs, and (2) an additional list of those URLs in clickable form. A
26   representative example is below:
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 9           20.   YOUTUBE confirmed receipt of the October 26, 2021 Takedown
10   Notice that same day with the following response:
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21           21.   To date, YOUTUBE has not removed the complained-of Infringing
22   Uses.
23           22.   On April 21, 2022, STROSS sent a Takedown Notice to YOUTUBE
24   via email at copyright@youtube.com regarding the unauthorized use of certain of
25   the Subject Works on YOUTUBE’S Platform. The Notice contained the
26   information required for an effective Takedown Notice under the DMCA and
27   YOUTUBE’S Platform’s Terms. YOUTUBE did not respond.
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 1           23.   To date, YOUTUBE has not removed the complained-of Infringing
 2   Uses.
 3           24.   Indeed, although well over a year has passed since STROSS’ first
 4   Notice, YOUTUBE has failed to remove a single Infringing Use.
 5           25.   YOUTUBE’S knowledge of the Infringing Uses, repeated and
 6   continuing failures to remove the Infringing Uses or even attempt to comply with
 7   the DMCA notice-and-takedown process, failure to enforce a repeat infringer
 8   policy that adequately deters the proliferation of the Infringing Uses on its
 9   Platform, and the financial benefits YOUTUBE has reaped and continues to reap
10   from all of the above, have necessitated this action.
11                              FIRST CLAIM FOR RELIEF
12           (For Contributory Copyright Infringement - Against YOUTUBE)
13           26.   Plaintiff incorporates by reference the allegations contained in the
14   preceding paragraphs of this Complaint.
15           27.   YOUTUBE has the right and ability to supervise its Platform and the
16   content posted thereon, including removing copyright-infringing content.
17   YOUTUBE also has the right and ability to oversee the uses of the Infringing Uses
18   on its Platform. Accordingly, YOUTUBE is in the best position to remove and
19   prevent copyright-infringing content from its Platform.
20           28.   Since at least as early as March 2021, YOUTUBE has had actual
21   knowledge, and/or has been aware of the facts or circumstances, of the Infringing
22   Uses (i.e., specific infringing material on its Platform). The information provided
23   in the three Takedown Notices that YOUTUBE received contained the types of
24   information called for under YOUTUBE’S Platform’s Terms of Service and the
25   DMCA. Moreover, those three Takedown Notices presented and formatted that
26   information based on the relationship between the means for finding the Infringing
27   Uses (i.e., screenshots and URLs) and the Infringing Uses themselves.
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 1         29.    YOUTUBE has the tools, resources, staff, technological capabilities,
 2   and knowledge of/about photographs on its Platform and servers (including the
 3   Infringing Uses) to locate and remove the Infringing Uses, and thereby prevent
 4   further infringement of STROSS’ copyrights in the Subject Works. Indeed, doing
 5   so requires only simple measures from YOUTUBE. Yet YOUTUBE has failed to
 6   remove, or disable access to, the Infringing Uses. Instead, despite its actual
 7   knowledge and awareness of the Infringing Uses, YOUTUBE continues to
 8   materially contribute to, and/or induce, further use of the Infringing Uses by (1)
 9   failing to act; and (2), inter alia and upon information and belief, continuing to
10   provide access to the Infringing Uses by allowing users to (a) select the Infringing
11   Uses for upload, download, transmission, and/or distribution, as well as initiate and
12   instigate the display of those Uses on YOUTUBE’S Platform; and (b) store, cache,
13   and/or distribute multiple copies of the Infringing Uses on YOUTUBE’S servers
14   and Platform.
15         30.    And, upon information and belief, YOUTUBE has failed to
16   adequately enforce its repeat infringer policy with respect to the Infringing Uses
17   and the users who posted them, as evidenced by, inter alia, YOUTUBE’s
18   continued display and distribution of the Infringing Uses with no evident action
19   taken against the users who posted them.
20         31.    The combination of YOUTUBE’S knowledge and awareness of the
21   Infringing Uses (in addition to knowing full well the extent of copyright
22   infringement that occurs on its Platform), its failure to remove or disable access to
23   the Infringing Uses (or take any meaningful measure(s) to stem the spread of
24   copyright-infringing content) after obtaining that knowledge and awareness, and its
25   failure to adequately enforce its repeat infringer policy, removes any potential safe
26   harbor protection afforded to YOUTUBE under the DMCA, 17 U.S.C. § 512.
27         32.    Due to YOUTUBE’S acts of contributory copyright infringement,
28   Plaintiff has suffered damages in an amount to be established at trial.

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 1         33.      Due to YOUTUBE’S acts of contributory copyright infringement,
 2   YOUTUBE has obtained profits it would not have realized but for its contributory
 3   infringement of the Subject Works. As such, Plaintiff is entitled to disgorgement of
 4   YOUTUBE’S profits attributable to its contributory infringement of the Subject
 5   Works in an amount to be established at trial.
 6         34.      Upon information and belief, Plaintiff alleges that YOUTUBE has
 7   committed acts of contributory copyright infringement with actual knowledge of,
 8   or in reckless disregard for, Plaintiff’s copyrights in the Subject Works, which
 9   renders those acts willful, intentional, and malicious.
10                                  PRAYER FOR RELIEF
11         WHEREFORE, Plaintiff prays for judgment as follows:
12               a. That Defendants, each of them, their respective agents, and anyone
13                  acting in concert with Defendants and/or their agents, be enjoined
14                  from using in any way the Subject Works without license,
15                  authorization, or consent from Plaintiff or pursuant to an independent
16                  legal right (e.g., fair use), including an Order requiring Defendants,
17                  and each of them, to remove the Subject Works from YOUTUBE’S
18                  Platform and servers;
19               b. That Plaintiff be awarded all Defendants’ profits attributable to their
20                  infringement, plus all Plaintiff’s losses, the exact sum to be proven at
21                  the time of trial; or alternatively, statutory damages as available under
22                  17 U.S.C. § 504;
23               c. That Plaintiff be awarded its attorneys’ fees and costs of this action
24                  under 17 U.S.C. § 505;
25               d. That Plaintiff be awarded pre-judgment interest as allowed; and,
26               e. That Plaintiff be awarded such further legal and equitable relief as the
27                  Court deems proper.
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 1          Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ.
 2    P. 38 and the 7th Amendment to the United States Constitution.
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 4                                                  DONIGER/BURROUGHS
 5    Dated: June 28, 2022                   By:    /s/ Stephen M. Doniger
 6
                                                    Stephen M. Doniger, Esq.
                                                    Benjamin F. Tookey, Esq.
 7                                                  Attorneys for Plaintiff
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